            Case 2:22-cv-01421-CMR Document 25 Filed 02/27/23 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________
ANGELINA KHARCHENKO,                               :
                                                   :
                Plaintiff,                         :       CIVIL ACTION
                                                   :
                                                   :       NO. 2:22-cv-01421
       v.                                          :
                                                   :
WT RAND TRANSPORT, LLC and WT                      :
RAND LOGISTICS, LLC,                               :
                                                   :
                Defendants.                        :
___________________________
                                 NOTICE OF APPEARANCE

TO THE CLERK OF THE COURT:

       Kindly note the below appearance of Michael J. O’Neill, Esquire on behalf of Plaintiff,

Angelina Kharchenko in the above-captioned matter.



                                                           Respectfully submitted,

                                                   BY:     /s/ Michael J. O’Neill, Esquire
                                                           Michael J. O’Neill, Esquire
                                                           Attorney for Angelina Kharchenko
                                                           Attorney I.D. No.: 82191
                                                           1002 Garrett Mill Road
                                                           Newtown Square, PA 19073
                                                           E-Mail: mjo@theoneillfirm.com
                                                           Phone: (215) 776-5070

Date: February 27, 2023
         Case 2:22-cv-01421-CMR Document 25 Filed 02/27/23 Page 2 of 2




                                  CERTIFICATE OF SERVICE

       I, Michael J. O’Neill, Esquire, counsel for Plaintiff Angelina Kharchenko, hereby certify

that a true and correct of the foregoing Notice of Appearance of Michael J. O’Neill, Esquire

was served upon all counsel of record, via e-filing.



                                                       BY:   /s/ Michael J. O’Neill, Esquire
                                                             Michael J. O’Neill, Esquire
                                                             Attorney for Angelina Kharchenko
                                                             Attorney I.D. No.: 82191
                                                             1002 Garrett Mill Road
                                                             Newtown Square, PA 19073
                                                             E-Mail: mjo@theoneillfirm.com
                                                             Phone: (215) 776-5070

Date: February 27, 2023
